Case: 2:07-cv-00729-GLF-NMK Doc #: 54 Filed: 11/07/07 Page: 1 of 3 PAGEID #: 1415




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

CARETOLIVE.

               Plaintiff,                             Case No. 2:07-cv-729
                                                      JUDGE GREGORY L. FROST
       v.                                             Magistrate Judge Norah McCann King

ANDREW von ESCHENBACH, et al.,

               Defendants.

                                     OPINION AND ORDER

       This matter is before the Court on Plaintiff’s Motion to Disqualify Counsel (Doc. # 30),

Response of Defendants in Opposition to Plaintiff’s Motion to Disqualify (Doc. # 40), and

Plaintiff’s Reply to Defendants’ Memorandum in Opposition to Disqualify the Department of

Justice from Representation of Defendants (“Plaintiff’s Reply”) (Doc. # 53). In Plaintiff’s

Reply, Plaintiff also requests an “in camera hearing with transcript . . . under seal.” For the

reasons that follow, the Court DENIES both Plaintiff’s Motion to Disqualify Counsel and

Plaintiff’s request for a hearing.

                                       I. BACKGROUND

       On September 29, 2007, Plaintiff filed its motion to disqualify Defendants’ counsel in

this action. Plaintiff contends that, the United States Attorney and other representatives of the

Department of Justice should be prohibited from representing any and/or all Defendants in this

matter because of conflicts of interest and potential breaches of ethical duty.

                                        II. DISCUSSION

       A. Standard

        The power to disqualify an attorney, or attorneys, from a case is incidental to all courts.
Case: 2:07-cv-00729-GLF-NMK Doc #: 54 Filed: 11/07/07 Page: 2 of 3 PAGEID #: 1416




SST Castings, Inc. v. Amana Appliances, Inc., 250 F. Supp. 2d 863, 865 (S.D. Ohio 2002). In

this case, the applicable Ohio ethical standard is Rule 1.7 of the Ohio Rules of Professional

Conduct:

       (a) A lawyer’s acceptance or continuation of representation of a client creates a
       conflict of interest if either of the following applies:

               (1) the representation of that client will be directly adverse to
               another current client; [or]

               (2) there is a substantial risk that the lawyer’s ability to consider,
               recommend, or carry out an appropriate course of action for that
               client will be materially limited by the lawyer’s responsibilities to
               another client, a former client, or a third person or by the lawyer’s
               own personal interests.

Ohio Prof. Cond. Rule 1.7 (Emphasis in original).

       As the moving party, Plaintiff bears the burden of establishing the need for

disqualification. Nilavar v. Mercy Health Sys.-W. Ohio, 143 F. Supp. 2d 909, 912 (S.D. Ohio

2001). Disqualification of a party’s attorney is a drastic remedy which should be reserved for

cases in which an actual ethical impropriety would taint the trial by undermining a court’s

confidence in an attorney’s representation of his client. See SST Castings, 250 F. Supp. 2d at

865 (citing Kitchen v. Aristech Chem., 769 F. Supp. 254, 257-59 (S.D. Ohio 1991)). See also

Wilson v. Morgan, 477 F.3d 326, 345 (6th Cir. 2007) (“To prevail, plaintiffs must demonstrate

that defense counsel ‘actively represented conflicting interests and that an actual conflict of

interest adversely affected [defense counselor’s] performance.’ ” quoting Gordon v. Norman,

788 F.2d 1194, 1198 (6th Cir. 1986)). Moreover, “[m]otions for attorney disqualification

‘should be viewed with extreme caution for they can be misused as a technique of harassment.’ ”

Kitchen, 769 F. Supp. at 256-57.


                                                  2
Case: 2:07-cv-00729-GLF-NMK Doc #: 54 Filed: 11/07/07 Page: 3 of 3 PAGEID #: 1417




       B. Application

       Plaintiff utterly fails to meet the substantial hurdles that confront motions to disqualify

counsel. Plaintiff’s motion is replete with phrases such as “It is ... believed,” “evidence will

suggest,” “it is possible,” “conflict may exist,” and “[i]t is maintained that Defendant,” all of

which demonstrate that no conflict currently exists. Such wholly speculative “conflicts” fall

woefully short of what must be shown to demonstrate a conflict of interest.

       With regard to Plaintiff’s request for oral argument, the Local Rules for the Southern

District of Ohio provides for such requests if “oral argument is deemed to be essential to the fair

resolution of the case because of its public importance or the complexity of the factual or legal

issues presented.” S.D. Ohio Civ. R. 7.1(b)(2). Whether to grant or deny oral argument is left to

the sound discretion of the trial court. See Whitescarver v. Sabin Robbins Paper Co., Case No.

C-1-03-911, 2006 U.S. Dist. LEXIS 51524, *5-6 (S.D. Ohio July 27, 2006). The Court

concludes that oral argument is not essential to the fair resolution of Plaintiff’s Motion to

Disqualify Counsel.

                                       III. CONCLUSION

       Based on the foregoing, the Court DENIES Plaintiff’s Motion to Disqualify Counsel

(Doc. # 30), and DENIES Plaintiff’s request for oral argument on that motion.

IT IS SO ORDERED.

                                                      /s/Gregory L. Frost
                                                      GREGORY L. FROST
                                                      UNITED STATES DISTRICT JUDGE




                                                  3
